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                 IN THE UNITED STATES DISTRICT COURT
                                                                              FILED
                     FOR THE DISTRICT OF MONTANA                              Nov or:v £u1B 'Jn
                            BUTTE DIVISION
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 UNITED STATES OF AMERICA,
                                                   CR 18-21-BU-DLC-2
                      Plaintiff,

        vs.                                         ORDER

 IAN BROOKS,

                      Defendant.

      THIS MATTER comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture. Ian Brooks appeared before the Court on October

31, 2018, and entered a plea of guilty to Count II contained in the Indictment. He

also admitted the forfeiture allegation. Brooks' plea provides a factual basis and

cause to issue an Order of Forfeiture, pursuant to 21 U.S.C. §§ 853(a)(l) and (2).

      IT IS ORDERED:

      THAT Brooks' interest in the following property is forfeited to the United

States in accordance with 21 U.S.C. §§ 853(a)(l) and (2):

   • United States Currency in the amount of $56,456.00.




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      THAT the United States Marshals Service and the Federal Bureau of

Investigation are directed to seize the property subject to forfeiture and further to

make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court's Preliminary Order

and the United States' intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 21 U.S.C. §§ 853(a)(l) and (2),

853(n)(l), and to make its return to this Court that such action has been completed;

and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Preliminary Order of Forfeiture.

      DATED this 5~ day ofNovember, 2018.




                                                 Dana L. Christensen, Chief Judge
                                                 United States District Court



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